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                       UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF OHIO
                             EASTERN DIVISION



 IN RE BIG LOTS, INC.                             Case No. 2:12-cv-445
 SHAREHOLDER LITIGATION                           Case No. 2:12-cv-447
                                                  Case No. 1:13-cv-753
                                                  Case No. 2:12-cv-590
                                                  Judge Michael H. Watson
                                                  Magistrate Judge Jolson

                                     ORDER


       Pursuant to the Court's August 28, 2018 Opinion and Order granting final

 approval of settlement in Case No. 2:12-gv-445, each of the above captioned

 cases is TERMINATED.

        IT IS SO ORDERED.


                                      MICHAEL H. WATSON, JUDGE
                                      UNITED STATES DISTRICT COURT
